Case 2:20-cv-05179-JWH-PVC Document 33 Filed 10/02/20 Page 1 of 2 Page ID #:312



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      Counsel for Plaintiff
  6   SuccessWare, Inc.
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  9
                          UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
 11
 12   SUCCESSWARE, INC.,                       Case No. 2:20-cv-05179-JWH-PVC
                                               Hon. John W. Holcomb
 13                            Plaintiff,
                                               PLAINTIFF’S NOTICE OF
 14                       v.                   VOLUNTARY DISMISSAL WITH
                                               PREJUDICE PURSUANT TO
 15   SERVICETITAN, INC. and                   FED.R.CIV.P. 41(a)(1)(A)(i)
 16   POINTMAN LLC,

 17                            Defendants.

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                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 2:20-cv-05179-JWH-PVC Document 33 Filed 10/02/20 Page 2 of 2 Page ID #:313



  1         PLEASE TAKE NOTICE that Plaintiff SUCCESSWARE, INC. has amicably
  2   resolved this matter and therefore hereby voluntarily dismisses the above captioned
  3   action with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
  4         Defendants SERVICETITAN, INC. and POINTMAN LLC have neither
  5   answered Plaintiff’s Complaint, nor filed a motion for summary judgment.
  6   Accordingly, this matter may be dismissed without an Order of the Court.
  7   DATED: October 2, 2020                Respectfully submitted,
  8                                         SIMPSON THACHER & BARTLETT LLP
  9                                         By: /s/ Harrison (Buzz) Frahn
 10                                             Harrison (Buzz) Frahn
 11                                             Counsel for Plaintiff SuccessWare, Inc.
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